 )LOO LQ WKLV LQIRUPDWLRQ WR LGHQWLI\ WKH FDVH
 'HEWRU     6DQGUD 6DWWRI

 'HEWRU     'DYLG 6DWWRI

  6SRXVH LI ILOLQJ

 8QLWHG 6WDWHV %DQNUXSWF\ &RXUW IRU KH 0,''/( 'LVWULFW RI 3(116</9$1,$

 &DVH QXPEHU EN0-&

2IILFLDO )RUP 6
1RWLFH RI 0RUWJDJH 3D\PHQW &KDQJH                                                                                                                   

,I WKH GHEWRU¶V SODQ SURYLGHV IRU SD\PHQW RI SRVWSHWLWLRQ FRQWUDFWXDO LQVWDOOPHQWV RQ \RXU FODLP VHFXUHG E\ D VHFXULW\ LQWHUHVW LQ WKH GHEWRU¶V
SULQFLSDO UHVLGHQFH \RX PXVW XVH WKLV IRUP WR JLYH QRWLFH RI DQ\ FKDQJHV LQ WKH LQVWDOOPHQW SD\PHQW DPRXQW )LOH WKLV IRUP DV D VXSSOHPHQW WR \RXU
SURRI RI FODLP DW OHDVW  GD\V EHIRUH WKH QHZ SD\PHQW DPRXQW LV GXH 6HH %DQNUXSWF\ 5XOH 

1DPH RI FUHGLWRU 1(:5(= //& '%$ 6+(//32,17                                    &RXUW FODLP QR LI NQRZQ  
0257*$*( 6(59,&,1*
/DVW  GLJLWV RI DQ\ QXPEHU \RX XVH WR                                           'DWH RI SD\PHQW FKDQJH 
LGHQWLI\ WKH GHEWRU¶V DFFRXQW                                               0XVW EH DW OHDVW  GD\V DIWHU GDWH
                                                                                 RI WKLV QRWLFH

                                                                                 1HZ WRWDO SD\PHQW 
                                                                                 3ULQFLSDO LQWHUHVW DQG HVFURZ LI DQ\

 3DUW        (VFURZ $FFRXQW 3D\PHQW $GMXVWPHQW

       :LOO WKHUH EH D FKDQJH LQ WKH GHEWRU¶V HVFURZ DFFRXQW SD\PHQW"

         Ƒ 1R
         Ŷ <HV        $WWDFK D FRS\ RI WKH HVFURZ DFFRXQW VWDWHPHQW SUHSDUHG LQ D IRUP FRQVLVWHQW ZLWK DSSOLFDEOH QRQEDQNUXSWF\ ODZ 'HVFULEH
                       WKH EDVLV IRU WKH FKDQJH ,I D VWDWHPHQW LV QRW DWWDFKHG H[SODLQ ZK\
                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

         &XUUHQW HVFURZ SD\PHQW                           1HZ HVFURZ SD\PHQW 


 3DUW        0RUWJDJH 3D\PHQW $GMXVWPHQW

       :LOO WKH GHEWRU¶V SULQFLSDO DQG LQWHUHVW SD\PHQW FKDQJH EDVHG RQ DQ DGMXVWPHQW WR WKH LQWHUHVW UDWH RQ WKH GHEWRU V
          YDULDEOHUDWH DFFRXQW"

         Ŷ 1R
         Ƒ <HV       $WWDFK D FRS\ RI WKH UDWH FKDQJH QRWLFH SUHSDUHG LQ D IRUP FRQVLVWHQW ZLWK DSSOLFDEOH QRQEDQNUXSWF\ ODZ ,I D QRWLFH LV QRW DWWDFKHG
                        H[SODLQ ZK\
                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

         &XUUHQW LQWHUHVW UDWH                                 1HZ LQWHUHVW UDWH

         &XUUHQW SULQFLSDO DQG LQWHUHVW SD\PHQW        1HZ SULQFLSDO DQG LQWHUHVW SD\PHQW


 3DUW        2WKHU 3D\PHQW &KDQJH

       :LOO WKHUH EH D FKDQJH LQ WKH GHEWRU V PRUWJDJH SD\PHQW IRU D UHDVRQ QRW OLVWHG DERYH"

         Ŷ 1R
         Ƒ <HV        $WWDFK D FRS\ RI DQ\ GRFXPHQW GHVFULELQJ WKH EDVLV IRU WKH FKDQJH VXFK DV D UHSD\PHQW SODQ RU ORDQ PRGLILFDWLRQ DJUHHPHQW
                      &RXUW DSSURYDO PD\ EH UHTXLUHG EHIRUH WKH SD\PHQW FKDQJH FDQ WDNH HIIHFW

                      5HDVRQ IRU FKDQJH BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

         &XUUHQW PRUWJDJH SD\PHQW                        1HZ PRUWJDJH SD\PHQW




2IILFLDO )RUP 6                                1RWLFH RI 0RUWJDJH 3D\PHQW &KDQJH                                            SDJH 

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'HEWRU  6DQGUD 6DWWRI                                                         &DVH QXPEHU LI NQRZQ EN0-&
           3ULQW 1DPH          0LGGOH 1DPH    /DVW 1DPH




 3DUW          6LJQ +HUH


 7KH SHUVRQ FRPSOHWLQJ WKLV 1RWLFH PXVW VLJQ LW 6LJQ DQG SULQW \RXU QDPH DQG \RXU WLWOH LI DQ\ DQG VWDWH \RXU DGGUHVV DQG
 WHOHSKRQH QXPEHU

 &KHFN WKH DSSURSULDWH ER[
      Ƒ , DP WKH FUHGLWRU
      Ŷ , DP WKH FUHGLWRU¶V DXWKRUL]HG DJHQW

 , GHFODUH XQGHU SHQDOW\ RI SHUMXU\ WKDW WKH LQIRUPDWLRQ SURYLGHG LQ WKLV FODLP LV WUXH DQG FRUUHFW WR WKH EHVW RI P\ NQRZOHGJH
 LQIRUPDWLRQ DQG UHDVRQDEOH EHOLHI

     V Sydney Marie Cauthen                         'DWH     03/12/2025
     6LJQDWXUH



  3ULQW                   Sydney Marie Cauthen                                                                     7LWOH   $X KRUL]HG $JHQW IRU &UHGLWRU
                        )LUVW 1DPH                        0LGGOH 1DPH           /DVW 1DPH


  &RPSDQ\               5REHUWVRQ $QVFKXW] 6FKQHLG &UDQH             3DUWQHUV 3//&


  $GGUHVV                0RUULV 5RDG 6XLWH 
                        1XPEHU               6WUHHW


                        $OSKDUHWWD *$ 
                        &LW\                                                             6WDWH     = 3 &RGH

  &RQWDFW 3KRQH                                                                                        (PDLO    scauthen@raslg.com




2IILFLDO )RUP 6                                       1RWLFH RI 0RUWJDJH 3D\PHQW &KDQJH                                                 SDJH 

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                                        &(57,),&$7( 2) 6(59,&(

               , +(5(%< &(57,)< WKDW RQ BBBBBBBBBBBBBBBBBB
                                          March 18, 2025    , HOHFWURQLFDOO\ ILOHG WKH IRUHJRLQJ ZLWK WKH
&OHUN RI &RXUW XVLQJ WKH &0(&) V\VWHP DQG D WUXH DQG FRUUHFW FRS\ KDV EHHQ VHUYHG YLD 8QLWHG 6WDWHV 0DLO WR WKH
IROORZLQJ

6DQGUD 6DWWRI
 %O\WKHEXUQ 5G
0RXQWDLQ 7RS 3$ 

'DYLG 6DWWRI
 %O\WKHEXUQ 5G
0RXQWDLQ 7RS 3$ 

$QG YLD HOHFWURQLF PDLO WR

0LFKDHO $ &LELN
&LELN /DZ 3&
 :DOQXW 6WUHHW
6XLWH 
3KLODGHOSKLD 3$ 

-DFN 1 =DKDURSRXORV
6WDQGLQJ &KDSWHU 
 7UXVWHH
 $GDPV 'ULYH 6XLWH $
+XPPHOVWRZQ 3$ 

8QLWHG 6WDWHV 7UXVWHH
86 &RXUWKRXVH
 1 WK 6W
+DUULVEXUJ 3$ 


                                                             Gabriella Bodei
                                                    %\ V BBBBBBBBBBBBBB
                                                              Gabriella Bodei




2IILFLDO )RUP 6                1RWLFH RI 0RUWJDJH 3D\PHQW &KDQJH                        SDJH 

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                                                                            ^ŚĞůůƉŽŝŶƚ DŽƌƚŐĂŐĞ ^ĞƌǀŝĐŝŶŐ
                                                                            W͘K͘ Žǆ ϭϬϴϮϲ
                                                                            'ƌĞĞŶǀŝůůĞ͕ ^ ϮϵϲϬϯ
                                                                            &Žƌ /ŶƋƵŝƌŝĞƐ͗ ϴϬϬͲϯϲϱͲϳϭϬϳ



                                                                                                       ŶĂůǇƐŝƐ ĂƚĞ͗                             &ĞďƌƵĂƌǇ ϭϮ͕ ϮϬϮϱ
       s/ ^ddK&                                                                                    >ŽĂŶ͗
       ^EZ ^ddK&
       Ϯϲϯϱ >zd,hZE Z                                                                              WƌŽƉĞƌƚǇ ĚĚƌĞƐƐ͗
       DKhEd/EdKW W ϭϴϳϬϳ                                                                            Ϯϲϯϱ >zd,hZE Z
                                                                                                       DKhEd/E dKW͕ W ϭϴϳϬϳ




                                            ŶŶƵĂů ƐĐƌŽǁ ĐĐŽƵŶƚ ŝƐĐůŽƐƵƌĞ ^ƚĂƚĞŵĞŶƚ Ͳ ĐĐŽƵŶƚ ,ŝƐƚŽƌǇ
        d,/^ EKd/ /^ /E' WZKs/ WhZ^hEd dK d, Z> ^dd ^dd>DEd WZKhZ^ d E Z'h>d/KE y͘ dK d, ydEd d, >KE
      ^Z/ >Kt /^ /E>h /E E d/s E<ZhWdz ^ KZ /^ ^h:d dK  E<ZhWdz /^,Z'͕ d,/^ EKd/ /^ /E' WZKs/ &KZ
           /E&KZDd/KE> WhZWK^^ KE>z E /^ EKd  DE &KZ WzDEd KZ E ddDWd dK K>>d d, d &ZKD zKh WZ^KE>>z

     dŚĞ ĨŽůůŽǁŝŶŐ ŝƐ ĂŶ ŽǀĞƌǀŝĞǁ ŽĨ ǇŽƵƌ ĞƐĐƌŽǁ ĂĐĐŽƵŶƚ ǁŝƚŚ ^ŚĞůůƉŽŝŶƚ DŽƌƚŐĂŐĞ ^ĞƌǀŝĐŝŶŐ͘ /ƚ ĐŽŶƚĂŝŶƐ ƚŚĞ ŚŝƐƚŽƌǇ ŽĨ ĞƐĐƌŽǁ ƉĂǇŵĞŶƚƐ ŵĂĚĞ ŽŶ ǇŽƵƌ
     ďĞŚĂůĨ ŝŶ ƚŚĞ ƉƌŝŽƌ ǇĞĂƌ͕ ĂŶĚ Ă ƐŶĂƉƐŚŽƚ ŽĨ ƚŚĞ ĂŶƚŝĐŝƉĂƚĞĚ ĚŝƐďƵƌƐĞŵĞŶƚƐ ĨŽƌ ƚŚĞ ĐŽŵŝŶŐ ǇĞĂƌ͘ ŶǇ ƉŽƚĞŶƚŝĂů ĂĚũƵƐƚŵĞŶƚƐ ĚƵĞ ƚŽ ŝŶĐƌĞĂƐĞƐ Žƌ
     ĚĞĐƌĞĂƐĞƐ ǁŝƚŚ ǇŽƵƌ ĞƐĐƌŽǁ ŝƚĞŵƐ ŵĂǇ ĂĨĨĞĐƚ ǇŽƵƌ ŵŽŶƚŚůǇ ĞƐĐƌŽǁ ƉĂǇŵĞŶƚ͘ /Ĩ ǇŽƵƌ ĞƐĐƌŽǁ ƉĂǇŵĞŶƚ ŝŶĐƌĞĂƐĞƐ͕ ǇŽƵƌ ŵŽŶƚŚůǇ ƉĂǇŵĞŶƚ ǁŝůů ĂůƐŽ
     ŝŶĐƌĞĂƐĞ͘ /Ĩ ƚŚĞ ĞƐĐƌŽǁ ƉĂǇŵĞŶƚ ĚĞĐƌĞĂƐĞƐ͕ ǇŽƵƌ ŵŽƌƚŐĂŐĞ ƉĂǇŵĞŶƚ ǁŝůů ĚĞĐƌĞĂƐĞ͘
WĂǇŵĞŶƚ /ŶĨŽƌŵĂƚŝŽŶ     ŽŶƚƌĂĐƚƵĂů ĨĨĞĐƚŝǀĞ DĂǇϬϭ͕ ϮϬϮϱ          WƌŝŽƌ ƐĐ Wŵƚ          DĂǇ Ϭϭ͕ ϮϬϮϰ        ƐĐƌŽǁ ĂůĂŶĐĞ ĂůĐƵůĂƚŝŽŶ
W Θ / Wŵƚ͗                    Ψϲϵϲ͘ϲϭ                 Ψϲϵϲ͘ϲϭ      W Θ / Wŵƚ͗                   Ψϲϵϲ͘ϲϭ       ƵĞ ĂƚĞ͗                             ^ĞƉƚĞŵďĞƌ Ϭϭ͕ ϮϬϮϯ
ƐĐƌŽǁ Wŵƚ͗                   Ψϰϭϭ͘ϳϲ                 Ψϰϳϰ͘ϴϯ      ƐĐƌŽǁ Wŵƚ͗                  ΨϰϮϵ͘ϰϭ       ƐĐƌŽǁ ĂůĂŶĐĞ͗                                 ͲΨϭϳϴ͘ϵϯ
KƚŚĞƌ &ƵŶĚƐ Wŵƚ͗                ΨϬ͘ϬϬ                   ΨϬ͘ϬϬ      KƚŚĞƌ &ƵŶĚƐ Wŵƚ͗               ΨϬ͘ϬϬ       ŶƚŝĐŝƉĂƚĞĚ WŵƚƐ ƚŽ ƐĐƌŽǁ͗                   Ψϴ͕ϰϰϳ͘ϬϬ
ƐƐƚ͘ Wŵƚ ;ͲͿ͗                  ΨϬ͘ϬϬ                   ΨϬ͘ϬϬ      ƐƐƚ͘ Wŵƚ ;ͲͿ͗                 ΨϬ͘ϬϬ       ŶƚŝĐŝƉĂƚĞĚ WŵƚƐ ĨƌŽŵ ƐĐƌŽǁ ;ͲͿ͗             Ψϭ͕ϳϲϯ͘ϯϯ
ZĞƐĞƌǀĞ ĐĐƚ Wŵƚ͗               ΨϬ͘ϬϬ                   ΨϬ͘ϬϬ      ZĞƐƌǀ ĐĐƚ Wŵƚ͗                ΨϬ͘ϬϬ
dŽƚĂů WĂǇŵĞŶƚ͗            Ψϭ͕ϭϬϴ͘ϯϳ                Ψϭ͕ϭϳϭ͘ϰϰ       dŽƚĂů WĂǇŵĞŶƚ͗             Ψϭ͕ϭϮϲ͘ϬϮ       ŶƚŝĐŝƉĂƚĞĚ ƐĐƌŽǁ ĂůĂŶĐĞ͗                   Ψϲ͕ϱϬϰ͘ϳϰ

^ŚŽƌƚĂŐĞͬKǀĞƌĂŐĞ /ŶĨŽƌŵĂƚŝŽŶ                  ĨĨĞĐƚŝǀĞ DĂǇϬϭ͕ ϮϬϮϱ         ƵƐŚŝŽŶ ĂůĐƵůĂƚŝŽŶ͗ ĞĐĂƵƐĞ ^ŚĞůůƉŽŝŶƚ DŽƌƚŐĂŐĞ ^ĞƌǀŝĐŝŶŐ ĚŽĞƐ ŶŽƚ ƐĞƚ ǇŽƵƌ ƚĂǆ
hƉĐŽŵŝŶŐ dŽƚĂů ŶŶƵĂů ŝůůƐ                                 Ψϱ͕ϲϵϴ͘Ϭϭ       ĂŵŽƵŶƚƐ Žƌ ŝŶƐƵƌĂŶĐĞ ƉƌĞŵŝƵŵƐ͕ ǇŽƵƌ ĞƐĐƌŽǁ ďĂůĂŶĐĞ ĐŽŶƚĂŝŶƐ Ă ĐƵƐŚŝŽŶ ŽĨ ϵϬϯ͘Ϭϭ͘
ZĞƋƵŝƌĞĚ ƵƐŚŝŽŶ                                              ΨϵϬϯ͘Ϭϭ        ĐƵƐŚŝŽŶ ŝƐ ĂŶ ĂĚĚŝƚŝŽŶĂů ĂŵŽƵŶƚ ŽĨ ĨƵŶĚƐ ŚĞůĚ ŝŶ ǇŽƵƌ ĞƐĐƌŽǁ ŝŶ ŽƌĚĞƌ ƚŽ ƉƌĞǀĞŶƚ ƚŚĞ
ZĞƋƵŝƌĞĚ ^ƚĂƌƚŝŶŐ ĂůĂŶĐĞ                                   Ψϭ͕ϲϰϲ͘ϰϲ       ďĂůĂŶĐĞ ĨƌŽŵ ďĞĐŽŵŝŶŐ ŽǀĞƌĚƌĂǁŶ ǁŚĞŶ ĂŶ ŝŶĐƌĞĂƐĞ ŝŶ ƚŚĞ ĚŝƐďƵƌƐĞŵĞŶƚ ĂŵŽƵŶƚ
ƐĐƌŽǁ ^ŚŽƌƚĂŐĞ                                                 ΨϬ͘ϬϬ       ŽĐĐƵƌƐ͘ zŽƵƌ ůŽǁĞƐƚ ŵŽŶƚŚůǇ ďĂůĂŶĐĞ ƐŚŽƵůĚ ŶŽƚ ďĞ ďĞůŽǁ ϵϰϵ͘ϲϳ Žƌ ϭͬϲ ŽĨ ƚŚĞ
                                                                            ĂŶƚŝĐŝƉĂƚĞĚ ƉĂǇŵĞŶƚ ĨƌŽŵ ƚŚĞ ĂĐĐŽƵŶƚ͘


      ΎΎ ^ŝŶĐĞ ǇŽƵ ĂƌĞ ŝŶ ĂŶ ĂĐƟǀĞ ďĂŶŬƌƵƉƚĐǇ͕ ǇŽƵƌ ŶĞǁ ƉĂǇŵĞŶƚ ƐŚŽǁŶ ĂďŽǀĞ ŝƐ ƚŚĞ ƉŽƐƚͲƉĞƟƟŽŶ ƉĂǇŵĞŶƚ ĂŵŽƵŶƚ͘
     dŚŝƐ ŝƐ Ă ƐƚĂƚĞŵĞŶƚ ŽĨ ĂĐƚƵĂů ĂĐƚŝǀŝƚǇ ŝŶ ǇŽƵƌ ĞƐĐƌŽǁ ĂĐĐŽƵŶƚ ĨƌŽŵ DĂǇϮϬϮϰ ƚŽ Ɖƌ ϮϬϮϱ͘ >ĂƐƚ ǇĞĂƌΖƐ ĂŶƚŝĐŝƉĂƚĞĚ ĂĐƚŝǀŝƚǇ ;ƉĂǇŵĞŶƚƐ ƚŽ ĂŶĚ ĨƌŽŵ ǇŽƵƌ
     ĞƐĐƌŽǁ ĂĐĐŽƵŶƚͿ ŝƐ ŶĞǆƚ ƚŽ ƚŚĞ ĂĐƚƵĂů ĂĐƚŝǀŝƚǇ͘
                       WĂǇŵĞŶƚƐ ƚŽ ƐĐƌŽǁ                 WĂǇŵĞŶƚƐ &ƌŽŵ ƐĐƌŽǁ                                           ƐĐƌŽǁ ĂůĂŶĐĞ
        ĂƚĞ           ŶƚŝĐŝƉĂƚĞĚ      ĐƚƵĂů            ŶƚŝĐŝƉĂƚĞĚ       ĐƚƵĂů            ĞƐĐƌŝƉƚŝŽŶ                ZĞƋƵŝƌĞĚ             ĐƚƵĂů
                                                                                         ^ƚĂƌƚŝŶŐ ĂůĂŶĐĞ                Ϯ͕Ϭϵϴ͘Ϭϳ           ;ϵ͕Ϭϯϱ͘ϲϴͿ
       DĂǇ ϮϬϮϰ               ϰϮϵ͘ϰϭ                           Ϯϯ͘ϯϯ           Ϯϯ͘ϯϯ   Ύ WD/                             Ϯ͕ϱϬϰ͘ϭϱ           ;ϵ͕Ϭϱϵ͘ϬϭͿ
       :ƵŶ ϮϬϮϰ               ϰϮϵ͘ϰϭ       ϭ͕Ϯϯϱ͘Ϯϴ            Ϯϯ͘ϯϯ           Ϯϯ͘ϯϯ   Ύ WD/                             Ϯ͕ϵϭϬ͘Ϯϯ           ;ϳ͕ϴϰϳ͘ϬϲͿ
       :Ƶů ϮϬϮϰ               ϰϮϵ͘ϰϭ                           Ϯϯ͘ϯϯ           Ϯϯ͘ϯϯ   Ύ WD/                             ϯ͕ϯϭϲ͘ϯϭ           ;ϳ͕ϴϳϬ͘ϯϵͿ
       ƵŐ ϮϬϮϰ               ϰϮϵ͘ϰϭ       ϭ͕ϮϳϬ͘ϱϴ            Ϯϯ͘ϯϯ           Ϯϯ͘ϯϯ   Ύ WD/                             ϯ͕ϳϮϮ͘ϯϵ           ;ϲ͕ϲϮϯ͘ϭϰͿ
       ^ĞƉ ϮϬϮϰ               ϰϮϵ͘ϰϭ                        Ϯ͕ϬϳϬ͘ϵϵ        Ϯ͕Ϭϵϲ͘Ϯϱ   Ύ ^ĐŚŽŽů dĂǆ                      Ϯ͕ϬϴϬ͘ϴϭ           ;ϴ͕ϳϭϵ͘ϯϵͿ
       ^ĞƉ ϮϬϮϰ                              ϰϮϵ͘ϰϭ            Ϯϯ͘ϯϯ           Ϯϯ͘ϯϯ   Ύ WD/                             Ϯ͕Ϭϱϳ͘ϰϴ           ;ϴ͕ϯϭϯ͘ϯϭͿ
       KĐƚ ϮϬϮϰ               ϰϮϵ͘ϰϭ                        ϭ͕ϲϱϭ͘ϰϭ                   Ύ ,ĂǌĂƌĚ                            ϴϯϱ͘ϰϴ           ;ϴ͕ϯϭϯ͘ϯϭͿ
       KĐƚ ϮϬϮϰ                              ϰϮϵ͘ϰϭ            Ϯϯ͘ϯϯ           Ϯϯ͘ϯϯ   Ύ WD/                               ϴϭϮ͘ϭϱ           ;ϳ͕ϵϬϳ͘ϮϯͿ
       EŽǀ ϮϬϮϰ               ϰϮϵ͘ϰϭ         ϰϮϵ͘ϰϭ            Ϯϯ͘ϯϯ           Ϯϯ͘ϯϯ     WD/                             ϭ͕Ϯϭϴ͘Ϯϯ           ;ϳ͕ϱϬϭ͘ϭϱͿ
       ĞĐ ϮϬϮϰ               ϰϮϵ͘ϰϭ                           Ϯϯ͘ϯϯ           Ϯϯ͘ϯϯ   Ύ WD/                             ϭ͕ϲϮϰ͘ϯϭ           ;ϳ͕ϱϮϰ͘ϰϴͿ
       :ĂŶ ϮϬϮϱ               ϰϮϵ͘ϰϭ                           Ϯϯ͘ϯϯ           Ϯϯ͘ϯϯ   Ύ WD/                             Ϯ͕ϬϯϬ͘ϯϵ           ;ϳ͕ϱϰϳ͘ϴϭͿ
       :ĂŶ ϮϬϮϱ                                                               ϱϰϮ͘ϴϯ   Ύ >ĞŶĚĞƌ WůĂĐĞĚ ,ĂǌĂƌĚ            Ϯ͕ϬϯϬ͘ϯϵ           ;ϴ͕ϬϵϬ͘ϲϰͿ
       &Ğď ϮϬϮϱ               ϰϮϵ͘ϰϭ                            Ϯϯ͘ϯϯ          Ϯϯ͘ϯϯ   Ύ WD/                             Ϯ͕ϰϯϲ͘ϰϳ           ;ϴ͕ϭϭϯ͘ϵϳͿ
       &Ğď ϮϬϮϱ                                                               ϭϳϴ͘ϰϲ   Ύ >ĞŶĚĞƌ WůĂĐĞĚ ,ĂǌĂƌĚ            Ϯ͕ϰϯϲ͘ϰϳ           ;ϴ͕ϮϵϮ͘ϰϯͿ
       DĂƌ ϮϬϮϱ               ϰϮϵ͘ϰϭ                           Ϯϯ͘ϯϯ                   Ύ WD/                             Ϯ͕ϴϰϮ͘ϱϱ           ;ϴ͕ϮϵϮ͘ϰϯͿ
       Ɖƌ ϮϬϮϱ               ϰϮϵ͘ϰϭ                           Ϯϯ͘ϯϯ                   Ύ WD/                             ϯ͕Ϯϰϴ͘ϲϯ           ;ϴ͕ϮϵϮ͘ϰϯͿ
       Ɖƌ ϮϬϮϱ                                             ϭ͕ϭϱϬ͘ϱϮ                   Ύ dŽǁŶ dĂǆ                        Ϯ͕Ϭϵϴ͘ϭϭ           ;ϴ͕ϮϵϮ͘ϰϯͿ
                                                                                         ŶƚŝĐŝƉĂƚĞĚ dƌĂŶƐĂĐƚŝŽŶƐ        Ϯ͕Ϭϵϴ͘ϭϭ           ;ϴ͕ϮϵϮ͘ϰϯͿ
       &Ğď ϮϬϮϱ                                       W                       ϭϴϬ͘ϵϰ     >ĞŶĚĞƌ WůĂĐĞĚ ,ĂǌĂƌĚ                               ;ϴ͕ϰϳϯ͘ϯϳͿ
       &Ğď ϮϬϮϱ                                       W                        Ϯϯ͘ϯϯ     WD/                                                ;ϴ͕ϰϵϲ͘ϳϬͿ
       DĂƌ ϮϬϮϱ                                       W                       ϭϴϬ͘ϵϰ     >ĞŶĚĞƌ WůĂĐĞĚ ,ĂǌĂƌĚ                               ;ϴ͕ϲϳϳ͘ϲϰͿ
       DĂƌ ϮϬϮϱ                                       W                        Ϯϯ͘ϯϯ     WD/                                                ;ϴ͕ϳϬϬ͘ϵϳͿ
       Ɖƌ ϮϬϮϱ                            ϴ͕ϰϰϳ͘ϬϬ W                          Ϯϯ͘ϯϯ     WD/                                                  ;Ϯϳϳ͘ϯϬͿ
       Ɖƌ ϮϬϮϱ                                       W                       ϭϴϬ͘ϵϰ     >ĞŶĚĞƌ WůĂĐĞĚ ,ĂǌĂƌĚ                                 ;ϰϱϴ͘ϮϰͿ
       Ɖƌ ϮϬϮϱ                                       W                     ϭ͕ϭϱϬ͘ϱϮ     dŽǁŶ dĂǆ                                           ;ϭ͕ϲϬϴ͘ϳϲͿ
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                     Ψϱ͕ϭϱϮ͘ϵϮ        ΨϭϮ͕Ϯϰϭ͘Ϭϵ        Ψϱ͕ϭϱϮ͘ϴϴ          Ψϰ͕ϴϭϰ͘ϭϳ
Ŷ ĂƐƚĞƌŝƐŬ ;ΎͿ ŝŶĚŝĐĂƚĞƐ Ă ĚŝĨĨĞƌĞŶĐĞ ĨƌŽŵ Ă ƉƌĞǀŝŽƵƐ ĞƐƚŝŵĂƚĞ ĞŝƚŚĞƌ ŝŶ ƚŚĞ ĚĂƚĞ Žƌ ƚŚĞ ĂŵŽƵŶƚ ͘ /Ĩ ǇŽƵ ǁĂŶƚ Ă ĨƵƌƚŚĞƌ ĞǆƉůĂŶĂƚŝŽŶ͕ ƉůĞĂƐĞ ĐĂůů ŽƵƌ ƚŽůů ͲĨƌĞĞ ŶƵŵďĞƌ͘
W Ͳ dŚĞ ůĞƚƚĞƌ ;WͿ ďĞƐŝĚĞ ĂŶ ĂŵŽƵŶƚ ŝŶĚŝĐĂƚĞƐ ƚŚĂƚ ƚŚĞ ƉĂǇŵĞŶƚ Žƌ ĚŝƐďƵƌƐĞŵĞŶƚ ŚĂƐ ŶŽƚ ǇĞƚ ŽĐĐƵƌƌĞĚ ďƵƚ ŝƐ ĞƐƚŝŵĂƚĞĚ ƚŽ ŽĐĐƵƌ ĂƐ ƐŚŽǁŶ ͘




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                                                                             ^ŚĞůůƉŽŝŶƚ DŽƌƚŐĂŐĞ ^ĞƌǀŝĐŝŶŐ
                                                                             &Žƌ /ŶƋƵŝƌŝĞƐ͗ ϴϬϬͲϯϲϱͲϳϭϬϳ

                                                                                                        ŶĂůǇƐŝƐ ĂƚĞ͗                            &ĞďƌƵĂƌǇ ϭϮ͕ ϮϬϮϱ
                                                                                                        >ŽĂŶ͗

                                     ŶŶƵĂů ƐĐƌŽǁ ĐĐŽƵŶƚ ŝƐĐůŽƐƵƌĞ ^ƚĂƚĞŵĞŶƚ Ͳ WƌŽũĞĐƚŝŽŶƐ ĨŽƌ ŽŵŝŶŐ zĞĂƌ
       d,/^ EKd/ /^ /E' WZKs/ WhZ^hEd dK d, Z> ^dd ^dd>DEd WZKhZ^ d E Z'h>d/KE y͘ dK d, ydEd d, >KE
     ^Z/ >Kt /^ /E>h /E E d/s E<ZhWdz ^ KZ /^ ^h:d dK  E<ZhWdz /^,Z'͕ d,/^ EKd/ /^ /E' WZKs/ &KZ
          /E&KZDd/KE> WhZWK^^ KE>z E /^ EKd  DE &KZ WzDEd KZ E ddDWd dK K>>d d, d &ZKD zKh WZ^KE>>z

    dŚŝƐ ŝƐ ĂŶ ĞƐƚŝŵĂƚĞ ŽĨ ĂĐƚŝǀŝƚǇ ŝŶ ǇŽƵƌ ĞƐĐƌŽǁ ĂĐĐŽƵŶƚ ĚƵƌŝŶŐ ƚŚĞ ĐŽŵŝŶŐ ǇĞĂƌ ďĂƐĞĚ ŽŶ ƉĂǇŵĞŶƚƐ ĂŶƚŝĐŝƉĂƚĞĚ ƚŽ ďĞ ŵĂĚĞ ƚŽ ĂŶĚ ĨƌŽŵ ǇŽƵƌ ĂĐĐŽƵŶƚ͘
    zŽƵƌ ƵŶƉĂŝĚ ƉƌĞͲƉĞƚŝƚŝŽŶ ĞƐĐƌŽǁ ŵŽƵŶƚ ŝƐ Ψϴ͕ϭϭϯ͘ϱϬ͘ dŚŝƐ ĂŵŽƵŶƚ ŚĂƐ ďĞĞŶ ƌĞŵŽǀĞĚ ĨƌŽŵ ƚŚĞ ƉƌŽũĞĐƚĞĚ ƐƚĂƌƚŝŶŐ ďĂůĂŶĐĞ͘

    KƌŝŐŝŶĂů WƌĞͲWĞƚŝƚŝŽŶ ŵŽƵŽŶƚ Ψϴ͕ϭϭϯ͘ϱϬ͕ WĂŝĚ WƌĞͲWĞƚŝƚŝŽŶ ŵŽƵŶƚ ΨϬ͘ϬϬ͕ ZĞŵĂŝŶŝŶŐ WƌĞͲWĞƚŝƚŝŽŶ ŵŽƵŶƚ Ψϴ͕ϭϭϯ͘ϱϬ͘
        ĂƚĞ                ŶƚŝĐŝƉĂƚĞĚ WĂǇŵĞŶƚƐ                                                                        ƐĐƌŽǁ ĂůĂŶĐĞ
                           dŽ ƐĐƌŽǁ        &ƌŽŵ ƐĐƌŽǁ           ĞƐĐƌŝƉƚŝŽŶ                                    ŶƚŝĐŝƉĂƚĞĚ           ZĞƋƵŝƌĞĚ
                                                                  ^ƚĂƌƚŝŶŐ ĂůĂŶĐĞ                                 ϲ͕ϱϬϰ͘ϳϰ             ϭ͕ϲϰϲ͘ϰϲ
    DĂǇ ϮϬϮϱ                  ϰϳϰ͘ϴϯ            Ϯϯ͘ϯϯ             WD/                                              ϲ͕ϵϱϲ͘Ϯϰ             Ϯ͕Ϭϵϳ͘ϵϲ
    DĂǇ ϮϬϮϱ                                   ϭϴϬ͘ϵϰ             >ĞŶĚĞƌ WůĂĐĞĚ ,ĂǌĂƌĚ                             ϲ͕ϳϳϱ͘ϯϬ             ϭ͕ϵϭϳ͘ϬϮ
    :ƵŶ ϮϬϮϱ                  ϰϳϰ͘ϴϯ            Ϯϯ͘ϯϯ             WD/                                              ϳ͕ϮϮϲ͘ϴϬ             Ϯ͕ϯϲϴ͘ϱϮ
    :ƵŶ ϮϬϮϱ                                   ϭϴϬ͘ϵϰ             >ĞŶĚĞƌ WůĂĐĞĚ ,ĂǌĂƌĚ                             ϳ͕Ϭϰϱ͘ϴϲ             Ϯ͕ϭϴϳ͘ϱϴ
    :Ƶů ϮϬϮϱ                  ϰϳϰ͘ϴϯ            Ϯϯ͘ϯϯ             WD/                                              ϳ͕ϰϵϳ͘ϯϲ             Ϯ͕ϲϯϵ͘Ϭϴ
    :Ƶů ϮϬϮϱ                                   ϭϴϬ͘ϵϰ             >ĞŶĚĞƌ WůĂĐĞĚ ,ĂǌĂƌĚ                             ϳ͕ϯϭϲ͘ϰϮ             Ϯ͕ϰϱϴ͘ϭϰ
    ƵŐ ϮϬϮϱ                  ϰϳϰ͘ϴϯ            Ϯϯ͘ϯϯ             WD/                                              ϳ͕ϳϲϳ͘ϵϮ             Ϯ͕ϵϬϵ͘ϲϰ
    ƵŐ ϮϬϮϱ                                   ϭϴϬ͘ϵϰ             >ĞŶĚĞƌ WůĂĐĞĚ ,ĂǌĂƌĚ                             ϳ͕ϱϴϲ͘ϵϴ             Ϯ͕ϳϮϴ͘ϳϬ
    ^ĞƉ ϮϬϮϱ                  ϰϳϰ͘ϴϯ         Ϯ͕Ϭϵϲ͘Ϯϱ             ^ĐŚŽŽů dĂǆ                                       ϱ͕ϵϲϱ͘ϱϲ             ϭ͕ϭϬϳ͘Ϯϴ
    ^ĞƉ ϮϬϮϱ                                    Ϯϯ͘ϯϯ             WD/                                              ϱ͕ϵϰϮ͘Ϯϯ             ϭ͕Ϭϴϯ͘ϵϱ
    ^ĞƉ ϮϬϮϱ                                   ϭϴϬ͘ϵϰ             >ĞŶĚĞƌ WůĂĐĞĚ ,ĂǌĂƌĚ                             ϱ͕ϳϲϭ͘Ϯϵ               ϵϬϯ͘Ϭϭ
    KĐƚ ϮϬϮϱ                  ϰϳϰ͘ϴϯ            Ϯϯ͘ϯϯ             WD/                                              ϲ͕ϮϭϮ͘ϳϵ             ϭ͕ϯϱϰ͘ϱϭ
    KĐƚ ϮϬϮϱ                                   ϭϴϬ͘ϵϰ             >ĞŶĚĞƌ WůĂĐĞĚ ,ĂǌĂƌĚ                             ϲ͕Ϭϯϭ͘ϴϱ             ϭ͕ϭϳϯ͘ϱϳ
    EŽǀ ϮϬϮϱ                  ϰϳϰ͘ϴϯ            Ϯϯ͘ϯϯ             WD/                                              ϲ͕ϰϴϯ͘ϯϱ             ϭ͕ϲϮϱ͘Ϭϳ
    EŽǀ ϮϬϮϱ                                   ϭϴϬ͘ϵϰ             >ĞŶĚĞƌ WůĂĐĞĚ ,ĂǌĂƌĚ                             ϲ͕ϯϬϮ͘ϰϭ             ϭ͕ϰϰϰ͘ϭϯ
    ĞĐ ϮϬϮϱ                  ϰϳϰ͘ϴϯ            Ϯϯ͘ϯϯ             WD/                                              ϲ͕ϳϱϯ͘ϵϭ             ϭ͕ϴϵϱ͘ϲϯ
    ĞĐ ϮϬϮϱ                                   ϭϴϬ͘ϵϰ             >ĞŶĚĞƌ WůĂĐĞĚ ,ĂǌĂƌĚ                             ϲ͕ϱϳϮ͘ϵϳ             ϭ͕ϳϭϰ͘ϲϵ
    :ĂŶ ϮϬϮϲ                  ϰϳϰ͘ϴϯ            Ϯϯ͘ϯϯ             WD/                                              ϳ͕ϬϮϰ͘ϰϳ             Ϯ͕ϭϲϲ͘ϭϵ
    :ĂŶ ϮϬϮϲ                                   ϭϴϬ͘ϵϰ             >ĞŶĚĞƌ WůĂĐĞĚ ,ĂǌĂƌĚ                             ϲ͕ϴϰϯ͘ϱϯ             ϭ͕ϵϴϱ͘Ϯϱ
    &Ğď ϮϬϮϲ                  ϰϳϰ͘ϴϯ            Ϯϯ͘ϯϯ             WD/                                              ϳ͕Ϯϵϱ͘Ϭϯ             Ϯ͕ϰϯϲ͘ϳϱ
    &Ğď ϮϬϮϲ                                   ϭϴϬ͘ϵϰ             >ĞŶĚĞƌ WůĂĐĞĚ ,ĂǌĂƌĚ                             ϳ͕ϭϭϰ͘Ϭϵ             Ϯ͕Ϯϱϱ͘ϴϭ
    DĂƌ ϮϬϮϲ                  ϰϳϰ͘ϴϯ            Ϯϯ͘ϯϯ             WD/                                              ϳ͕ϱϲϱ͘ϱϵ             Ϯ͕ϳϬϳ͘ϯϭ
    DĂƌ ϮϬϮϲ                                   ϭϴϬ͘ϵϰ             >ĞŶĚĞƌ WůĂĐĞĚ ,ĂǌĂƌĚ                             ϳ͕ϯϴϰ͘ϲϱ             Ϯ͕ϱϮϲ͘ϯϳ
    Ɖƌ ϮϬϮϲ                  ϰϳϰ͘ϴϯ            Ϯϯ͘ϯϯ             WD/                                              ϳ͕ϴϯϲ͘ϭϱ             Ϯ͕ϵϳϳ͘ϴϳ
    Ɖƌ ϮϬϮϲ                                   ϭϴϬ͘ϵϰ             >ĞŶĚĞƌ WůĂĐĞĚ ,ĂǌĂƌĚ                             ϳ͕ϲϱϱ͘Ϯϭ             Ϯ͕ϳϵϲ͘ϵϯ
    Ɖƌ ϮϬϮϲ                                 ϭ͕ϭϱϬ͘ϱϮ             dŽǁŶ dĂǆ                                         ϲ͕ϱϬϰ͘ϲϵ             ϭ͕ϲϰϲ͘ϰϭ
                            Ψϱ͕ϲϵϳ͘ϵϲ        Ψϱ͕ϲϵϴ͘Ϭϭ
     ' ʹ WĞŶĚŝŶŐ ŝƐďƵƌƐĞŵĞŶƚƐ ƉƌŝŽƌ ƚŽ ƚŚĞ ďĂŶŬƌƵƉƚĐǇ ĨŝůŝŶŐ ĚĂƚĞ͘ WƌĞͲƉĞƚŝƚŝŽŶ ĚŝƐďƵƌƐĞŵĞŶƚƐ͘

   ;WůĞĂƐĞ ŬĞĞƉ ƚŚŝƐ ƐƚĂƚĞŵĞŶƚ ĨŽƌ ĐŽŵƉĂƌŝƐŽŶ ǁŝƚŚ ƚŚĞ ĂĐƚƵĂů ĂĐƚŝǀŝƚǇ ŝŶ ǇŽƵƌ ĂĐĐŽƵŶƚ Ăƚ ƚŚĞ ĞŶĚ ŽĨ ƚŚĞ ĞƐĐƌŽǁ ĂĐĐŽƵŶƚŝŶŐ ĐŽŵƉƵƚĂƚŝŽŶ ǇĞĂƌ͘Ϳ

   zŽƵƌ ĞŶĚŝŶŐ ďĂůĂŶĐĞ ĨƌŽŵ ƚŚĞ ůĂƐƚ ŵŽŶƚŚ ŽĨ ƚŚĞ ĂĐĐŽƵŶƚ ŚŝƐƚŽƌǇ ;ĞƐĐƌŽǁ ďĂůĂŶĐĞ ĂŶƚŝĐŝƉĂƚĞĚͿ ŝƐ ϲ͕ϱϬϰ͘ϳϰ͘ zŽƵƌ ƐƚĂƌƚŝŶŐ
   ďĂůĂŶĐĞ ;ĞƐĐƌŽǁ ďĂůĂŶĐĞ ƌĞƋƵŝƌĞĚͿ ĂĐĐŽƌĚŝŶŐ ƚŽ ƚŚŝƐ ĂŶĂůǇƐŝƐ ƐŚŽƵůĚ ďĞ Ψϭ͕ϲϰϲ͘ϰϲ͘



   tĞ ĂŶƚŝĐŝƉĂƚĞ ƚŚĞ ƚŽƚĂů ŽĨ ǇŽƵƌ ĐŽŵŝŶŐ ǇĞĂƌ ďŝůůƐ ƚŽ ďĞϱ͕ϲϵϴ͘Ϭϭ͘ tĞ ĚŝǀŝĚĞ ƚŚĂƚ ĂŵŽƵŶƚ ďǇ ƚŚĞ ŶƵŵďĞƌ ŽĨ ƉĂǇŵĞŶƚƐ ĞǆƉĞĐƚĞĚ ĚƵƌŝŶŐ ƚŚĞ ĐŽŵŝŶŐ ǇĞĂƌ ƚŽ
   ŽďƚĂŝŶ ǇŽƵƌ ĞƐĐƌŽǁ ƉĂǇŵĞŶƚ͘
    EĞǁ ƐĐƌŽǁ WĂǇŵĞŶƚ ĂůĐƵůĂƚŝŽŶ
     hŶĂĚũƵƐƚĞĚ ƐĐƌŽǁ WĂǇŵĞŶƚ                                   Ψϰϳϰ͘ϴϯ
     ^ƵƌƉůƵƐ ZĞĚƵĐƚŝŽŶ͗                                            ΨϬ͘ϬϬ
     ^ŚŽƌƚĂŐĞ /ŶƐƚĂůůŵĞŶƚ͗                                         ΨϬ͘ϬϬ
     ZŽƵŶĚŝŶŐ ĚũƵƐƚŵĞŶƚ ŵŽƵŶƚ͗                                   ΨϬ͘ϬϬ
     ƐĐƌŽǁ WĂǇŵĞŶƚ͗                                             Ψϰϳϰ͘ϴϯ

                                             WůĞĂƐĞ ƌĞĂĚ ƚŚĞ ĨŽůůŽǁŝŶŐ ŝŵƉŽƌƚĂŶƚ ŶŽƚŝĐĞƐ ĂƐ ƚŚĞǇ ŵĂǇ ĂĨĨĞĐƚ ǇŽƵƌ ƌŝŐŚƚƐ͘

EĞǁƌĞǌ >> ĚďĂ ^ŚĞůůƉŽŝŶƚ DŽƌƚŐĂŐĞ ^ĞƌǀŝĐŝŶŐ ŝƐ Ă ĚĞďƚ ĐŽůůĞĐƚŽƌ͘ dŚŝƐ ŝƐ ĂŶ ĂƚƚĞŵƉƚ ƚŽ ĐŽůůĞĐƚ Ă ĚĞďƚ ĂŶĚ ĂŶǇ ŝŶĨŽƌŵĂƚŝŽŶ ŽďƚĂŝŶĞĚ ǁŝůů ďĞ ƵƐĞĚ ĨŽƌ ƚŚĂƚ
ƉƵƌƉŽƐĞ͘ EĞǁƌĞǌ >> ĚďĂ ^ŚĞůůƉŽŝŶƚ DŽƌƚŐĂŐĞ ^ĞƌǀŝĐŝŶŐΖƐ

/Ĩ ǇŽƵ ĂƌĞ Ă ĐƵƐƚŽŵĞƌ ŝŶ ďĂŶŬƌƵƉƚĐǇ Žƌ Ă ĐƵƐƚŽŵĞƌ ǁŚŽ ŚĂƐ ƌĞĐĞŝǀĞĚ Ă ďĂŶŬƌƵƉƚĐǇ ĚŝƐĐŚĂƌŐĞ ŽĨ ƚŚŝƐ ĚĞďƚ͗ ƉůĞĂƐĞ ďĞ ĂĚǀŝƐĞĚ ƚŚĂƚ ƚŚŝƐ ŶŽƚŝĐĞ ŝƐ ƚŽ ĂĚǀŝƐĞ
ǇŽƵ ŽĨ ƚŚĞ ƐƚĂƚƵƐ ŽĨ ǇŽƵƌ ŵŽƌƚŐĂŐĞ ůŽĂŶ͘ dŚŝƐ ŶŽƚŝĐĞ ĐŽŶƐƚŝƚƵƚĞƐ ŶĞŝƚŚĞƌ Ă ĚĞŵĂŶĚ ĨŽƌ ƉĂǇŵĞŶƚ ŶŽƌ Ă ŶŽƚŝĐĞ ŽĨ ƉĞƌƐŽŶĂů ůŝĂďŝůŝƚǇ ƚŽ ĂŶǇ ƌĞĐŝƉŝĞŶƚ ŚĞƌĞŽĨ͕
ǁŚŽ ŵŝŐŚƚ ŚĂǀĞ ƌĞĐĞŝǀĞĚ Ă ĚŝƐĐŚĂƌŐĞ ŽĨ ƐƵĐŚ ĚĞďƚ ŝŶ ĂĐĐŽƌĚĂŶĐĞ ǁŝƚŚ ĂƉƉůŝĐĂďůĞ ďĂŶŬƌƵƉƚĐǇ ůĂǁƐ Žƌ ǁŚŽ ŵŝŐŚƚ ďĞ ƐƵďũĞĐƚ ƚŽ ƚŚĞ ĂƵƚŽŵĂƚŝĐ ƐƚĂǇ ŽĨ
^ĞĐƚŝŽŶ ϯϲϮ ŽĨ ƚŚĞ hŶŝƚĞĚ ^ƚĂƚĞƐ ĂŶŬƌƵƉƚĐǇ ŽĚĞ͘

ƚƚĞŶƚŝŽŶ ^ĞƌǀŝĐĞŵĞŵďĞƌƐ ĂŶĚ ĞƉĞŶĚĞŶƚƐ͗ dŚĞ ĨĞĚĞƌĂů ^ĞƌǀŝĐĞŵĞŵďĞƌƐ ŝǀŝů ZĞůŝĞĨ Đƚ ĂŶĚ ĐĞƌƚĂŝŶ ƐƚĂƚĞ ůĂǁƐ ƉƌŽǀŝĚĞ ŝŵƉŽƌƚĂŶƚ ƉƌŽƚĞĐƚŝŽŶƐ ĨŽƌ ǇŽƵ͕
ŝŶĐůƵĚŝŶŐ ŝŶƚĞƌĞƐƚ ƌĂƚĞ ƉƌŽƚĞĐƚŝŽŶƐ ĂŶĚ ƉƌŽŚŝďŝƚŝŶŐ ĨŽƌĞĐůŽƐƵƌĞ ƵŶĚĞƌ ŵŽƐƚ ĐŝƌĐƵŵƐƚĂŶĐĞƐ ĚƵƌŝŶŐ ĂŶĚ ƚǁĞůǀĞ ŵŽŶƚŚƐ ĂĨƚĞƌ ƚŚĞ ƐĞƌǀŝĐĞŵĞŵďĞƌ͛Ɛ ŵŝůŝƚĂƌǇ Žƌ
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ŽƚŚĞƌ ƐĞƌǀŝĐĞ͘ ŽƵŶƐĞůŝŶŐ ĨŽƌ ĐŽǀĞƌĞĚ ƐĞƌǀŝĐĞŵĞŵďĞƌƐ ŝƐ ĂǀĂŝůĂďůĞ ĨƌŽŵ DŝůŝƚĂƌǇ KŶĞ^ŽƵƌĐĞ;ϴϬϬͲϯϰϮͲϵϲϰϳͿ ĂŶĚ ƚŚĞ hŶŝƚĞĚ ^ƚĂƚĞƐ ƌŵĞĚ &ŽƌĐĞƐ >ĞŐĂů
ƐƐŝƐƚĂŶĐĞ Žƌ ŽƚŚĞƌ ƐŝŵŝůĂƌ ĂŐĞŶĐŝĞƐ͘ &Žƌ ŵŽƌĞ ŝŶĨŽƌŵĂƚŝŽŶ͕ ƉůĞĂƐĞ ǀŝƐŝƚ ƚŚĞ DŝůŝƚĂƌǇ KŶĞ^ŽƵƌĐĞ ǁĞďƐŝƚĞ ǁǁǁ͘ŵŝůŝƚĂƌǇŽŶĞƐŽƵƌĐĞ͘ŵŝůͬ͘

EŽƚŝĐĞ ŽĨ ƌƌŽƌ Žƌ /ŶĨŽƌŵĂƚŝŽŶ ZĞƋƵĞƐƚ ĚĚƌĞƐƐ
zŽƵ ŚĂǀĞ ĐĞƌƚĂŝŶ ƌŝŐŚƚƐ ƵŶĚĞƌ &ĞĚĞƌĂů ůĂǁ ƌĞůĂƚĞĚ ƚŽ ƌĞƐŽůǀŝŶŐ ĞƌƌŽƌƐ ŝŶ ƚŚĞ ƐĞƌǀŝĐŝŶŐ ŽĨ ǇŽƵƌ ůŽĂŶ ĂŶĚ ƌĞƋƵĞƐƚŝŶŐ ŝŶĨŽƌŵĂƚŝŽŶ ĂďŽƵƚ ǇŽƵƌ ůŽĂŶ͘ /Ĩ ǇŽƵ ǁĂŶƚ
ƚŽ ƌĞƋƵĞƐƚ ŝŶĨŽƌŵĂƚŝŽŶ ĂďŽƵƚ ǇŽƵƌ ůŽĂŶ Žƌ ŝĨ ǇŽƵ ďĞůŝĞǀĞ ĂŶ ĞƌƌŽƌ ŚĂƐ ŽĐĐƵƌƌĞĚ ŝŶ ƚŚĞ ƐĞƌǀŝĐŝŶŐ ŽĨ ǇŽƵƌ ůŽĂŶ ĂŶĚ ǁŽƵůĚ ůŝŬĞ ƚŽ ƐƵďŵŝƚ ĂŶ ƌƌŽƌ ZĞƐŽůƵƚŝŽŶ
Žƌ /ŶĨŽƌŵĂƚŝŽŶĂů ZĞƋƵĞƐƚ͕ ƉůĞĂƐĞ ǁƌŝƚĞ ƚŽ ƵƐ͘ ĚĚŝƚŝŽŶĂůůǇ͕ ŝĨ ǇŽƵ ďĞůŝĞǀĞ ǁĞ ŚĂǀĞ ĨƵƌŶŝƐŚĞĚ ŝŶĂĐĐƵƌĂƚĞ ŝŶĨŽƌŵĂƚŝŽŶ ƚŽ ĐƌĞĚŝƚ ƌĞƉŽƌƚŝŶŐ ĂŐĞŶĐŝĞƐ͕ ƉůĞĂƐĞ
ǁƌŝƚĞ ƚŽ ƵƐ ǁŝƚŚ ƐƉĞĐŝĨŝĐ ĚĞƚĂŝůƐ ƌĞŐĂƌĚŝŶŐ ƚŚŽƐĞ ĞƌƌŽƌƐ ĂŶĚ ĂŶǇ ƐƵƉƉŽƌƚŝŶŐ ĚŽĐƵŵĞŶƚĂƚŝŽŶ ƚŚĂƚ ǇŽƵ ŚĂǀĞ ĂŶĚ ǁĞ ǁŝůů ĂƐƐŝƐƚ ǇŽƵ͘ ƌƌŽƌ ZĞƐŽůƵƚŝŽŶ͕
ŝŶĐůƵĚŝŶŐ ĐŽŶĐĞƌŶƐ ŽĨ ŝŶĂĐĐƵƌĂƚĞ ŝŶĨŽƌŵĂƚŝŽŶ ƐĞŶƚ ƚŽ ĐƌĞĚŝƚ ƌĞƉŽƌƚŝŶŐ ĂŐĞŶĐŝĞƐ͕ Žƌ ƌĞƋƵĞƐƚƐ ĨŽƌ ŝŶĨŽƌŵĂƚŝŽŶ ƐŚŽƵůĚ ďĞ ƐĞŶƚ ƚŽ ƚŚĞ ĨŽůůŽǁŝŶŐ ĂĚĚƌĞƐƐ͗

^ŚĞůůƉŽŝŶƚ DŽƌƚŐĂŐĞ ^ĞƌǀŝĐŝŶŐ
W͘K͘ Žǆ ϭϬϴϮϲ
'ƌĞĞŶǀŝůůĞ͕ ^ ϮϵϲϬϯ

tĞ ŵĂǇ ƌĞƉŽƌƚ ŝŶĨŽƌŵĂƚŝŽŶ ĂďŽƵƚ ǇŽƵƌ ĂĐĐŽƵŶƚ ƚŽ ĐƌĞĚŝƚ ďƵƌĞĂƵƐ͘ >ĂƚĞ ƉĂǇŵĞŶƚƐ͕ ŵŝƐƐĞĚ ƉĂǇŵĞŶƚƐ͕ Žƌ ŽƚŚĞƌ ĚĞĨĂƵůƚƐ ŽŶ ǇŽƵƌ ĂĐĐŽƵŶƚ ŵĂǇ ďĞ ƌĞĨůĞĐƚĞĚ
ŝŶ ǇŽƵƌ ĐƌĞĚŝƚ ƌĞƉŽƌƚ͘

 ƐƵĐĐĞƐƐŽƌ ŝŶ ŝŶƚĞƌĞƐƚ ŝƐ ƐŽŵĞŽŶĞ ǁŚŽ ĂĐƋƵŝƌĞƐ ĂŶ ŽǁŶĞƌƐŚŝƉ ŝŶƚĞƌĞƐƚ ŝŶ Ă ƉƌŽƉĞƌƚǇ ƐĞĐƵƌĞĚ ďǇ Ă ŵŽƌƚŐĂŐĞ ůŽĂŶ ďǇ ƚƌĂŶƐĨĞƌ ƵƉŽŶ ƚŚĞ ĚĞĂƚŚ ŽĨ Ă
ƌĞůĂƚŝǀĞ͕ ĂƐ Ă ƌĞƐƵůƚ ŽĨ Ă ĚŝǀŽƌĐĞ Žƌ ůĞŐĂů ƐĞƉĂƌĂƚŝŽŶ͕ ƚŚƌŽƵŐŚ ĐĞƌƚĂŝŶ ƚƌƵƐƚƐ͕ ďĞƚǁĞĞŶ ƐƉŽƵƐĞƐ͕ ĨƌŽŵ Ă ƉĂƌĞŶƚ ƚŽ Ă ĐŚŝůĚ͕ Žƌ ǁŚĞŶ Ă ďŽƌƌŽǁĞƌ ǁŚŽ ŝƐ Ă ũŽŝŶƚ
ƚĞŶĂŶƚ Žƌ ƚĞŶĂŶƚ ďǇ ƚŚĞ ĞŶƚŝƌĞƚǇ ĚŝĞƐ͘ /Ĩ ǇŽƵ ĂƌĞ Ă ƐƵĐĐĞƐƐŽƌ ŝŶ ŝŶƚĞƌĞƐƚ͕ Žƌ ǇŽƵ ƚŚŝŶŬ ǇŽƵ ŵŝŐŚƚ ďĞ͕ ƉůĞĂƐĞ ĐŽŶƚĂĐƚ ďǇ ƉŚŽŶĞ͕ ŵĂŝů Žƌ ĞŵĂŝů ƚŽ ƐƚĂƌƚ ƚŚĞ
ĐŽŶĨŝƌŵĂƚŝŽŶ ƉƌŽĐĞƐƐ͘

KƵƌ ƐǇƐƚĞŵ ŽĨ ƌĞĐŽƌĚ ŚĂƐ ǇŽƵƌ ƉƌĞĨĞƌƌĞĚ ůĂŶŐƵĂŐĞ ĂƐ ŶŐůŝƐŚ͘

/Ĩ ǇŽƵ ƉƌĞĨĞƌ ƚŽ ƌĞĐĞŝǀĞ ĐŽŵŵƵŶŝĐĂƚŝŽŶ ŝŶ Ă ůĂŶŐƵĂŐĞ ŽƚŚĞƌ ƚŚĂŶ ŶŐůŝƐŚ͕ ƉůĞĂƐĞ ĐŽŶƚĂĐƚ ƵƐ ĂƚϴϬϬͲϯϲϱͲϳϭϬϳ ƚŽ ƐƉĞĂŬ ǁŝƚŚ Ă ƚƌĂŶƐůĂƚŽƌ ŝŶ ǇŽƵƌ ƉƌĞĨĞƌƌĞĚ
ůĂŶŐƵĂŐĞ ĂďŽƵƚ ƚŚĞ ƐĞƌǀŝĐŝŶŐ ŽĨ ǇŽƵƌ ůŽĂŶ Žƌ Ă ĚŽĐƵŵĞŶƚ ǇŽƵ ƌĞĐĞŝǀĞĚ͘

^ŝ ƉƌĞĨŝĞƌĞ ƌĞĐŝďŝƌ ůĂƐ ĐŽŵƵŶŝĐĂĐŝŽŶĞƐ ĞŶ ŽƚƌŽ ŝĚŝŽŵĂ ƋƵĞ ŶŽ ƐĞĂ Ğů ŝŶŐůĠƐ͕ ƉŽƌ ĨĂǀŽƌ͕ ĐŽŶƚĄĐƚĞŶŽƐ ĞŶ Ğů ϴϬϬͲϯϲϱͲϳϭϬϳ ƉĂƌĂ ŚĂďůĂƌ ĐŽŶ ƵŶ ƚƌĂĚƵĐƚŽƌ ĞŶ Ğů
ŝĚŝŽŵĂ ĚĞ ƐƵ ƉƌĞĨĞƌĞŶĐŝĂ ƐŽďƌĞ ůĂ ŐĞƐƚŝſŶ ĚĞ ƐƵ ƉƌĠƐƚĂŵŽ Ž ĐƵĂůƋƵŝĞƌ ĚŽĐƵŵĞŶƚŽ ƋƵĞ ŚĂǇĂ ƌĞĐŝďŝĚŽ͘

⡀㙚⽦堿ḽ䏦冯媫ᶣ⟔䕂‴ᶔ媫墾庙圊ᵢ㯿濕媵傲䏳                                            濕ハᶪ⫄㛷㈬⽦桔廇䕂媫墾⩇㉐䖶ⵒ䕂媏⌖濕᳌⽦⫯寵㧼㗋⅟ᵉ朷ピ⽦ヾ㉣
㏴䕂㑅ᶴ庙圊␄婦Ʋ

WůĞĂƐĞ ŶŽƚĞ ƚŚĂƚ ǁĞ ŽƉĞƌĂƚĞ ĂƐ EĞǁƌĞǌ DŽƌƚŐĂŐĞ >> ĚďĂ ^ŚĞůůƉŽŝŶƚ DŽƌƚŐĂŐĞ ^ĞƌǀŝĐŝŶŐ ŝŶ ƌŬĂŶƐĂƐ ĂŶĚ dĞǆĂƐ͘




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